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Exhibit C
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theory of the earth’s antiquity. One hundred fifty years after
that, they unleashed a pompous, three-time loser agaist
John Scopes. Today, using the liberal rhetoric of equal time,
they are trying to drive evolutionary theory from the nation’s
textbooks,

Science, to be sure, has transgressed as well. We have
persecuted dissenters, resorted to catechism, and tried to
extend our authority to a moral sphere where it has no force.
Yet without a commitment to science and rationality in its
proper domain, there can be no solution to the problems that
engulf us. Sull, the Yahoos never rest.

 

 

 

 

Uniformity and
Catastrophe

Tue Gipeon Soctery —those purvey-
ors of spiritual comfort to a mobile nation—persist in record-
ing the date of creation as 4,004 8.c. in their marginal anno-
tation to Genesis 1. Geologists believe that our planet is at
least a million times more ancient—some 4 1/2 billion years
old.

Each of the major sciences has contributed an essential
ingredient to our long retreat from an initial belief mm our
own cosmic importance. Astronomy defined our home as a
small planet tucked away In one corner of an average galaxy
among millions; biology took away our status as paragons
created in the image of God; geology gave us the immensity
of time and taught us how little of it our own species has
occupied.

In 1975, we celebrated the centenary of the death of
Charles Lyell, conventional hero of the geologic revolution
—“the mirror of all that really mattered in geologic
thought,’’ according to one recent biographer. The standard
account of Lyell’s accomplishment runs in the following way:
in the early nineteenth century, geology was dominated by
the catastrophists—theological apologists who sought to
compress the geologic record into the strictures of biblical
chronology. To do this, they imagined a profound discor-
dance between past and present modes of change. The pre-
sent may run slowly and gradually as waves and rivers do
their work; the events of the past were abrupt and cataclysmic

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and aggressive urges may have evolved by the Darwinian
route of individual advantage, but our altruistic tendencies
imposed by the de-

 

need not represent a unique overla
mands of civilization. These tendencies may have arisen by
the same Darwinian route via kin selection. Basic human
kindness may be as “animal” as human nastiness.

But here | stop—short of any deterministic speculation
that attributes specific behaviors to the possession of specific
altruist or opportunist genes. Our genetic makeup permits a
wide range of behaviors—from Ebenezer Scrooge before to
Ebenezer Scrooge after. I do not believe that the miser
hoards through opportunist genes or that the philanthropist
gives because nature endowed him with more than the nor-
mal complement of altruist genes. Upbringing, culture, class,
status, and all the mtangibles that we call “free will,” deter-
mine how we restrict our behaviors from the wide spectrum
extreme altruism to extreme selfishness—that our genes
permu,

As an example of deterministic speculations based on al-
truism and kin selection, E.O. Wilson has proposed a genetic
explanation of homosexuality (New York Times Magazine, Oc-
tober 12, 1975). Since exclusive homosexuals do not bear
children, how could a homosexuality gene ever be selected
in a Darwinian world? Suppose that our ancestors organized
socially as small, competing groups of very close kin. Some
groups contained only heterosexual members. Others in-
cluded homosexuals who functioned as “helpers” in hunung
or child rearing: they bore no children but they helped kin
to raise their close genetic relatives. If groups with homosex-
ual helpers prevailed in competion over exclusively hetero-
sexual groups, then homosexuality genes would have been
maintained by kin selection. There is nothing illogical in this
proposal, but it has no facts going for it either. We have
identified no homosexuality gene, and we know nothing rele-
vant to this hypothesis about the social organization of our
ancestors.

Wilson's intent is admirable; he attempts to affirm the in-
trinsic dignity of a common and much maligned sexual be-
havior by arguing that it is natural for some people—and

 

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adaptive to boot (at least under an ancestral form of social
organization). But the strategy is a dangerous one, for it
backfires if the genetic speculation is wrong. If you detend a
behavior by arguing that people arc programmed directly for
it, then how do you continue to detend it if your speculauion
is wrong, for the behavior then becomes unnatural and wor-
thy of condemnation. Better to stick resolutely to a philo-
sophical position on human liberty: what free adults do with
each other in their own private lives is their business alone.
ft need not be vindicated—and must not be condemned—by
genetic speculation.

Although | worry long and hard about the deterministic
uses of kin selection, I applaud the insight it offers for my
favored theme of biological potentiality. For it extends the
realm of genetic potential even further by including the ca-
pacity for kindness, once viewed as intrinsically unique to
human culture. Sigmund Freud argued that the history of our
greatest scientific insights has reflected, ironically, a continu-
ous retreat of our species from center stage in the cosmos.
Before Copernicus and Newton, we thought we lived at the
hub of the universe. Before Darwin, we thought that a benev-
olent God had created us. Before Treud, we unagmed our-
Selves as rational creatures (surely one of the least modest
statements in intellectual history). If kin selection marks an-
other stage in this retreat, it will serve us well by nudging our
thinking away from domination and toward a perception of
respect and unity with other animals.

 

SO CLEVERLY KIND AN ANIMAL

 
